Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 1 of 13 PageID #: 4056
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 2 of 13 PageID #: 4057
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 3 of 13 PageID #: 4058
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 4 of 13 PageID #: 4059
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 5 of 13 PageID #: 4060
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 6 of 13 PageID #: 4061
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 7 of 13 PageID #: 4062
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 8 of 13 PageID #: 4063
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 9 of 13 PageID #: 4064
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 10 of 13 PageID #: 4065
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 11 of 13 PageID #: 4066
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 12 of 13 PageID #: 4067
Case 1:21-cv-01456-MN Document 87 Filed 04/22/22 Page 13 of 13 PageID #: 4068
